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                EXHIBIT A
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         UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS
PETER BARBARA and JOHN DREW,                                         HOUSTON DIVISION
versus                                              CIVIL ACTION NO. 4:22-CV-003340
MCGRIFF INSURANCE SERVICES, INC.,                            DEFENDANT’S EXHIBIT LIST
LIST OF: DEFENDANT                                  COUNSEL: GARY D. EISENSTAT AND JOHN M.
TYPE OF HEARING: TRIAL                              BARCUS (OGLETREE DEAKINS)
JUDGE:                CLERK:                        REPORTER:
ANDREW S. HANEN       RHONDA HAWKINS
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                                               Respectfully submitted,

                                               By: /s/ Gary D. Eisenstat
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                                                John M. Barcus
                                                Texas State Bar No. 24036815
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                                                OGLETREE, DEAKINS, NASH, SMOAK &
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                                                Dallas, Texas 75225
                                                (214) 987-3800
                                                (214) 987-3927 (Facsimile)

                                                 ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2023, the foregoing document was filed using the
Court’s electronic filing system, which will send notification of such filing to all counsel of record.


                                                  /s/ Gary D. Eisenstat
                                                  Gary D. Eisenstat
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                                                 ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2023, the foregoing document was filed using the
Court’s electronic filing system, which will send notification of such filing to all counsel of record.


                                                  /s/ Gary D. Eisenstat
                                                  Gary D. Eisenstat
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         UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS
PETER BARBARA and JOHN DREW,                                         HOUSTON DIVISION
versus                                              CIVIL ACTION NO. 4:22-CV-003340
MCGRIFF INSURANCE SERVICES, INC.,                            DEFENDANT’S EXHIBIT LIST
LIST OF: DEFENDANT                                  COUNSEL: GARY D. EISENSTAT AND JOHN M.
TYPE OF HEARING: TRIAL                              BARCUS (OGLETREE DEAKINS)
JUDGE:                CLERK:                        REPORTER:
ANDREW S. HANEN       RHONDA HAWKINS
NO.      DESCRIPTION                                           OFR      OBJ   ADM       DATE
1.       McGriff’s Offer letter to J. Drew, February 18,
         2002
         (Drew Depo. Ex. 1; Bailey Depo Ex. 1; DREW
         000623-627)
2.       McGriff’s letter to J. Drew answering questions
         relative to the equity part of his deal, May 2,
         2002
         (Drew Depo. Ex. 2; DREW 000620-621)
3.       McGriff’s Offer letter confirmation to J. Drew,
         June 5, 2002
         (Drew Depo. Ex. 3; DREW 000658-664)
4.       I. Stern and T. Duffy letters discussing
         discharge language for employment agreement,
         June 25, 2002 and June 26, 2002
         (Drew Depo. Ex. 4; DREW 000665-668)
5.       I. Stern and T. Duffy letter discussing discharge
         language for employment agreement with
         handwritten revisions on June 25, 2002
         (Drew Depo. Ex. 5; DREW 000676)
6.       I. Stern and T. Duffy letters discussing
         discharge language for employment agreement
         with handwritten revisions on June 26, 2002
         (Drew Depo. Ex. 6; DREW 000672)
7.       I. Stern letter to P. Burleson sending the
         employment agreement, July 18, 2002
         (Drew Depo. Ex. 8; DREW 000589)
8.       I. Stern letter to P. Burleson to confirm joint
         defense agreement, July 18, 2002
         (Drew Depo. Ex. 9; DREW 000590)
9.       McGriff letter to J. Drew confirming offer of
         employment, August 2, 2002
         (Drew Depo. Ex. 10; MCGRIFF 000259-268)
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NO.   DESCRIPTION                                       OFR   OBJ   ADM   DATE
10.   J. Drew’s Employment Agreement, signed,
      August 2, 2002
      (Drew Depo. Ex. 11; Bailey Depo Ex. 2)
11.   Producer Remuneration Plan, January 1, 2002
      (Drew Depo. Ex. 12; DREW 000628-655)
12.   Memorandum to T. Papadakis from J. Drew
      regarding Producer Transitioning, July 23, 2008
      (Drew Depo. Ex. 13; MCGRIFF10117-10118)
13.   Letter to Steve Levene confirming offer of
      employment, September 26, 2008
      (Drew Depo. Ex. 14; MCGRIFF10082-10084)
14.   Bruce Dunbar email regarding Retention Tools,
      March 12, 2010
      (Drew Depo. Ex. 15; MCGRIFF10081)
15.   T. Lambert email to J. Drew, et al., regarding
      Promissory Note of J. Drew, April 18, 2016
       (Drew Depo. Ex. 16; Bailey Depo Ex. 4;
      MCGRIFF 001930-1934)
16.   Summary of Accounts, December 31, 2008
      (Drew Depo. Ex. 17; DREW 000080)
17.   Email exchange with J. Drew regarding his
      payment of taxes on his stock compensation,
      January 7 through January 30, 2003
      (Drew Depo. Ex. 18; DREW 000691)
18.   J. Drew’s Charge of Discrimination, September
      9, 2021
      (Drew Depo. Ex. 19; Bailey Depo Ex. 10)
19.   Determination and Notice of Rights, May 18,
      2022
      (Drew Depo. Ex. 20; DREW 000003-6)
20.   J. Drew’s Answers and Objections to
      Defendant’s Second Set of Interrogatories,
      September 5, 2023
      (Drew Depo. Ex. 21)
21.   McGriff’s     historical   Book      Threshold
      Forgivable Loans list
      (Drew Depo. Ex. 23; Bailey Depo Ex. 14;
      MCGRIFF 000322-332)
22.   Letter from B. Dunbar to T. Ebner and others
      regarding producer retention, February 8, 2008
      (Hodo Depo. Ex. 3; MCGRIFF 000001-
      000003)
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23.   McGriff (historical MSW) Book Threshold
      Forgivable Loans Issued
      (Hodo Depo. Ex. 6; MCGRIFF 000322-
      000332)
24.   Producer Retention Loans
      (Hodo Depo. Ex. 7; MCGRIFF 10090-10092)
25.   J. Drew’s Employment Agreement, August 2,
      2002
      (Hodo Depo. Ex. 9; MCGRIFF 000004-
      000009)
26.   Letter from B. Dunbar to J. Drew regarding
      traditional and retention compensation, April
      24, 2008
      (Hodo Depo. Ex. 10; DREW 000728-000730)
27.   Memo from B. Dunbar to T. Ebner and others
      regarding retention tools, March 12, 2010
      (Hodo Depo Ex. 11; MCGRIFF 10079)
28.   Email from J. Drew to D. Hodo regarding not
      being treated fairly on the forgivable loan area
      and other topics, March 31, 2015
      (Hodo Depo. Ex. 12; DREW 000727)
29.   Email from T. Lambert to T. Ebner regarding J.
      Drew’s compensation benefits, December 23,
      2015
      (Hodo Depo. Ex. 14; MCGRIFF 001962-
      001963)
30.   Email from T. Lambert to J. Drew and others
      regarding J. Drew receiving a retention loan,
      April 18, 2016
      (Hodo Depo. Ex. 15; MCGRIFF 001930-
      001934)
31.   Memo to T. Ebner, et al from B. Dunbar
      regarding Producer Retention, February 8, 2008
      (Bailey Depo. Ex. 3; MCGRIFF 000001-3)
32.   J. Vanloock email to R. Ulmer regarding
      Promissory Notes – history on certain unique
      scenarios, March 4, 2021
      (Bailey Depo. Ex. 5; MCGRIFF000247-249)
33.   J. Drew’s Supplemental Answers to McGriff’s
      Second Set of Interrogatories (Dec. 5, 2023)
34.   Truist Equal Employment Opportunity and
      Anti-Harassment Policy (MCGRIFF 1949-
      1961)
35.   McGriff, Siebels & Williams, Inc. Proposed
      2016 Loans to be made (MCGRIFF 10114-
      10115)
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36.   Retention Loans 2013-2018 (MCGRIFF
      10093)
37.   Producer Loan Program – Proposed 2014 Loans
      to be made Based on 2013 Production
      (MCGRIFF 10042)
38.   Producer Loan Program – Proposed 2018 Loans
      to be made Based on 2017 Production
      (MCGRIFF 10043-10045)
39.   Memo re 2004 Stock Option Grant (DREW
      554-562)
40.   Memo re 2004 Stock Incentive Plan (DREW
      599-607)
41.   Memo re Restricted Stock Unite Agreement
      (DREW 484-491)
42.   Memo re 2009 Equity Award (DREW 572)
43.   Memo re Amendments to 2006, 2007, and 2008
      RSU Agreements and Stock Plan Amendments
      (DREW 532)
44.   Restricted Stock Unit Agreement (Grant Date
      February 24, 2009) (DREW 512-520)
45.   Memo re 2006 Equity Award (DRDW 472)
46.   Memo re 2004 Stock Incentive Plan (DREW
      492-498)
47.   Enterprise Retention Schedule (MCGRIFF
      1867-1924)
48.   Drew Final Pay Statement for 2023
49.   Accounting Workpapers Reflecting Manual
      Adjustment to Drew’s Sales Credits from 2005-
      present upon which his annual salary has been
      based.
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                                               Respectfully submitted,

                                               By: /s/ Gary D. Eisenstat
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                                                  Gary D. Eisenstat
